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            -Court of Common Pleas of Philadelphia County                                            Far Prothonotarv Use oriJv COocket Number)
                           Trial Division
                                                                                            JU.Y 201,
'
                         Civil Cover Sheet                                        &fDing NurniHir. 1 ~ 0S 0 5 2162
                                                                                                                                        002720
    PLAINTIFF'S NAME                                                              DEFENDANl"S NAME
                                                                                    TAMEKA P. LAFAYETTE M.D

    PLAINTIFF'S ADDRESS                                                           DEFENDANl"S ADDRESS
     1837 EAST TIOGA STREET                                                         C/O MARIA DE LOS SANTOS                 HEALTH CENTER 401-55
     PHILADELPHIA PA 19134                                                          WEST ALLEGHENY AVENUE
                                                                                    PHILADELPHIA PA 19133
    PLAINTIFF'S NAME                                                              DEFENDANl"S NAME
     ANA M. RAMOS                                                                   DELAWARE VALLEY COMMUNITY HEALTH, INC., ALIAS:
                                                                                    T/A MARIA DE LOS SANTOS HEALTH CENTER
    PLAINTIFPS ADDRESS                                                            DEFENDANT'S ADDRESS
     1837 EAST TIOGA STREET                                                         401-55 WEST ALLEGHENY AVENUE
     PHILADELPHIA PA 19134                                                          PHILADELPHIA PA 19133

    PLAINTIFPS NAME                                                               DEFENDANT'S NAME
     JOSE MERCADO                                                                   SHWETHA S. SHRIVATSA MD

    PLAINTIFF'S ADDRESS                                                           DEFENDANl"S ADDRESS
     2111 NORTH HOWARD STREET                                                       462 NORTH 6TH STREET
     PHILADELPHIA PA 19122                                                          PHILADELPHIA PA 19123

    TOTAL NUMBER OF PLAINTIFFS         TOTAL NUMBER OF DEFENDANTS         COMMENCEMENT OF ACTION

                     3                                   6
                                                                          Iii Complaint     0           Petition Action               0 Notice of Appeal
                                                                          D Writ of Summons 0           Transfer From Other Jurisdictions
    AMOUNT IN CONTROVERSY           COURT PROGRAMS


    0     $50,000.00 or less
                                   0   Arbitration             0     Mass tort                       0 Commerce                     0    Settlement
                                   lilJury                     CJ    Stvings Action                  0 Minor Court Appeal           0    Minors
    lil   More than $50,000.00     0 Non-Jury                  0     P~;tition                       0 Statutory Appeals            0    WID/Survival
                                   0 Other:                                                                   - - -
    CASE TYPE AND CODE

      2M - MALPRACTICE - MEDICAL

                                              '
    STATUTORY BASIS FOR CAUSE OF ACTION




                                                                          J~
    RELATED PENDING CASES (LIST BY CASE CAPTION AND DOCKET NUMBER)                                                     IS CASE SUBJECT TO
                                                                                                                       COORDINATION ORDER?
                                                                                                                                   YES                NO

                                                                       MAY 23 2016
                                                                          E. MASCUILLI

    TO THE PROTHONOTARY:
    Kindly enter my appearance on behalf of Plaintiff/Petitioner/Appellant:                                               ANA M RAMOS             I



    Papers may be served at the address set forth below.
                                                                                       JOSE MERCADO                   '
    NAME OF PLAINTIFF'SJPETITIONER'S/APPELLANl"S ATTORNEY                        ADDRESS

     DANIEL JECK                                                                  1634 SPRUCE STREET
                                                                                  PHILADELPHIA PA 19103
    PHONE NUMBER                            FAX NUMBER
      (215) 546-6636                        (215) 546-0118

    SUPREME COURT IDENTIFICATION NO.                                             E·MAIL ADDRESS
     67454                                                                        Dan@erlegal.com

    SIGNATURE OF FILING ATTORNEY OR PARTY                                        DATE SUBMITTED
     DANIEL JECK                                                                  Monday, May 23, 2016, 11:19 am
            Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 2 of 38



·COMPLETE LIST OF DEFENDANTS:
     1. TAMEKA P. LAFAYETTE M.D
          C/0 MARIA DE LOS SANTOS HEALTH CENTER 401-55 WEST ALLEGHENY AVENUE
          PHILADELPHIA PA 19133
     2. DELAWARE VALLEY COMMUNITY HEALTH, INC.
          ALIAS: T/A MARIA DE LOS SANTOS HEALTH CENTER
          401-55 WEST ALLEGHENY AVENUE
          PHILADELPHIA PA 19133
     3. SHWETHA S. SHRIVATSA MD
          462 NORTH 6TH STREET
          PHILADELPHIA PA 19123
     4. TEMPLE PHYSICIANS, INC ..
          2540 WEST HUNTING PARK AVENUE
          PHILADELPHIA PA 19129
     5. TEMPLE UNIVERSITY HOSPITAL, INC.
          3509 NORTH BROAD STREET 9TH FLOOR
          PHILADELPHIA PA 19140
     6. TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
          3509 NORTH BROAD STREET 9TH FLOOR
          PHILADELPHIA PA 19140
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EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
      Joshua B. Schwartz, Esquire
ATTORNEY I.D. 67454/210208
1634 Spruce Street
Philadelphia, PA 19103
 215 546-6636
                           a minor, by and through his
parents and natural guardians, ANA M. RAMOS and
JOSE MERCADO, and ANA M. RAMOS AND JOSE
MERCADO, in their own right                                     TERM, 2016
 1837 East Tioga Street
Philadelphia, Pennsylvania 19134                         NO.
               And
2111 North Howard Street                                 CIVIL ACTION
Philadelphia, Pennsylvania 19122
                              Plaintiffs                 JURY TRIAL DEMANDED
                          vs.
TAMEKA P. LAFAYETTE, M.D.
c/o MARIA DE LOS SANTOS HEALTH CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                          And
DELAWARE VALLEY COMMUNITY HEALTH,
INC., t/a MARIA DE LOS SANTOS HEALTH
CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                         And
SHWETHA S. SHRIVATSA, M.D.
462 North 6th Street
Philadelphia, Pennsylvania 19123
                          And
TEMPLE PHYSICIANS, INC.
2540 West Hunting Park Avenue
Philadelphia, Pennsylvania 19129
                          And
TEMPLE UNIVERSITY HOSPITAL, INC.
3509 North Broad Street
9th Floor
Philadelphia, Pennsylvania 19140
                          And
TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 91h Floor
Philadelphia, Pennsylvania 19140
                             Defendants




                                                                             Case ID: 16050272(
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                            "NOTICE                                                                    "AVISO

            "You have been sued in court. If you wish to defend                      "Le han demandado a usted en Ia corte. Si, usted quiere
against the claims set forth in the following pages, you must take       defenderse de estas demandas expuetas en las piglnas siguientes, usted
action within twenty (20) days after this complaint and notice are       tiene veinte (20) dlas de plazo al partir de Ia fecha de Ia demands y Ia
served, by entering a written appearance personally or by attorney and   notificacion. Haec falta asentar una comparencia escrlta o en persona
filing in writing with the court your defenses or objections to the      o con un abogado y entregar a Ia corte en forma escrita sus defensas o
claims set forth against you. You are warned that if you fail to do so   sus objeciones a las demandas en contra de su persona. Sea avisado
the case may proceed without you and a judgment may be entered           que si usted no sc defiende, Ia corte tomari medidas y puede continuar
against you buy the court without further notice for any money           Ia dcmanda en contra suya sin previo aviso o notificaci6n. Ademll.s, Ia
claimed in the complaint or for any other claim or relief requested by   corte pucde dccidlr a favor del demandontc y requiere que usted
the plaintiff. You may lose money or property or other rights            cumpia con tadas las provlsiones de esta demands. Usted puede perder
important to you.                                                        dinero o sus propicdades u otros dercchos importantes para ustcd.

        "YOU SHOULD TAKE THIS PAPER TO YOUR                                      "LLEVE ESTA DEMANDA A UN ABOGADO
LAWYER AT ONCE. IF YOU DO NOT HAVE A LAWYER OR                           INMEDIATAMENTA. SINO TIENE ABOGADO 0 Sl NO TIENE
CANNOT AFFORD ONE, GO TO OR TELEPHONE THE OFFICE                         EL DINERO SUFICIENTE DE PAGAR TAL SERVICIO, VA YA EN
SET FORTH BELOW TO FIND OUT WHERE YOU CAN GET                            PERSONA 0 LLAME POR TELEFONO A LA OFICINA CUYA
LEGAL HELP. THIS OFFICE CAN PROVIDE YOU WITH                             DIRECCION SE ENCUENTRA ESCRITA ABAJO PARA
INFORMATION ABOUT HIRING A LAWYER. IF YOU CANNOT                         AVERIGUAR DONDE SE PUEDE CONSEGUIR ASISTENCIA
AFFORD TO HIRE A LAWYER, THIS OFFICE MAY BE ABLE                         LEGAL.   ESTA OFICINA PUEDE PROPORCIONARLE LA
TO PROVIDE YOU WITH INFORMATION ABOUT AGENCIES                           INFORMACION SOBRE CONTRATAR A UN ABOGADO. SI
THAT MAY OFFER LEGAL SERVICES TO ELIGIBLE PERSONS                        USTED NO TIENE DINERO SUFICIENTE PARA PAGAR A UN
AT A REDUCED FEE OR NO FEE                                               ABOGADO, ESTA OFICINA PUEDE PROPORCIONARLE
                                                                         INFORMACION SOBRE AGENCIAS QUE OFRECEN SERVICIOS
                      Lawyer Referral Service                            LEGALES A PERSONAS QUE CUMPLEN LOS REQUISITOS
                         1 Reading Center                                PARA UN HONORARIO REDUCIDO 0 NINGUN HONORARJO."
                      Philadelphia, PA 19107
                           (215) 238-6333                                           Servicio De Referencla E Informacion Legal
                                                                                                 1 Reading Center
                                                                                                Filadelfia, PA 19107
                                                                                                    (215) 238-6333




                                                                                                                              Case ID: 16050272(
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                             CIVIL ACTION- COMPLAINT
                       MEDICAL PROFESSIONAL LIABILITY ACTION



                 Plaintiff,                  , a minor ("Minor-Plaintiff'), by and through his

parents and natural guardians, Ana M. Ramos and Jose Mercado and Ana M. Ramos and Jose

Mercado, in their own right, by and through their attorneys, Daniel Jeck, Esquire and Joshua B.

Schwartz, Esquire of Eisenberg, Rothweiler, Winkler, Eisenberg & Jeck, P.C., files this

Complaint against Defendants, Tameka P. Lafayette, M.D. ("Dr. Lafayette"), Delaware Valley

Community Health, Inc. t/a Maria De Los Santos Health Center ("Delaware Valley" or "Maria

De Los Santos"), Shwetha S. Shrivatsa, M.D. ("Dr. Shrivatsa"), Temple Physicians, Inc. ("TPI"),

Temple University Hospital, Inc. ("Temple"), and Temple University Health System, Inc.

("Temple Health") (Dr. Lafayette, Delaware Valley or Maria De L~s Santos, Dr. Shrivatsa, TPI,

Temple and Temple Health hereinafter collectively referred to as "Defendants") jointly and

severally, and states as follows:

        1.       Minor-Plaintiff is a minor and resides with his mother and natural guardian,

Plaintiff, Ana M. Ramos, in the Commonwealth of Pennsylvania, Philadelphia County, at 1837

E. Tioga Street, Philadelphia, Pennsylvania 19134.

       2.        Plaintiff, Ana M. Ramos, is an adult citizen residing in the Commonwealth of

Pennsylvania, Philadelphia County, at 1837 East Tioga Street, Philadelphia, Pennsylvania

19134. Plaintiff, Ana M. Ramos is the mother ofMinor-Plaintiff.

       3.        Plaintiff, Jose Mercado, is an adult citizen residing in the Commonwealth of

Pennsylvania, Philadelphia County, at 2111 N. Howard Street, Philadelphia, Pennsylvania

19122. Plaintiff, Jose Mercado is the father of Minor-Plaintiff.




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        4.     Dr. Lafayette, at all material times, was a physician licensed to practice medicine

in the Commonwealth of Pennsylvania and who currently resides and/or conducts business at

401-55 West Allegheny Avenue, Philadelphia, Pennsylvania 19133.

        S.     Delaware Valley, at all material times, was a hospital, corporation, institution,

practice plan and/or association, licensed to provide health care services under the laws of the

Commonwealth of Pennsylvania, and has a registered corporate address and/or regularly

conducts its business within Philadelphia County at 401 W. Allegheny Avenue, Philadelphia,

Pennsylvania 19133.

       6.      At all material times, Delaware Valley acted individually and/or through its

agents, servants and/or employees, ostensible or otherwise, including Dr. Lafayette, who were

then and there engaged in Delaware Valley's business, acting within the course and scope of

their employment for and on behalf of Delaware Valley.

       7.      Dr. Shrivatsa, at all material times, was a physician licensed to practice medicine

in the Commonwealth of Pennsylvania and who currently resides and/or conducts business at

462 North 6th Street, Philadelphia, Pennsylvania 19123.

       8.      TPI, at all material times, is a hospital, corporation, institution, practice plan

and/or association, licensed to provide health care services under the laws of the Commonwealth

of Pennsylvania, and has a registered corporate address and/or regularly conducts its business

within Philadelphia County at 2540 West Hunting Park Avenue, Philadelphia, PA 19129.

       9.      At all material times, TPI acted individually and/or through its respective agents,

representatives, servants and/or employees, ostensible or otherwise, who were then and there

engaged in Defendant, Temple Physicians, Inc.'s business, acting within the course and scope of

their employment for and on behalf of Defendant, Temple Physicians, Inc.




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        10.     Temple is a hospital, corporation, institution, practice plan and/or association,

licensed to provide health care services under the laws of the Commonwealth of Pennsylvania,

and has a registered corporate address and/or regularly conducts its business within Philadelphia

County at 3509 N. Broad Street, 9th Floor, Philadelphia, PA 19140.

        11.     At all material times, Temple acted individually and/or through its respective

agents, representatives, servants and/or employees, ostensible or otherwise, who were then and

there engaged in Temple's business, acting within the course and scope of their employment for

and on behalf of Temple.

        12.     Temple Health is a hospital, corporation, institution, practice plan and/or

association, licensed to provide health care services under the laws of the Commonwealth of

Pennsylvania, and has a registered corporate address and/or regularly conducts its business

within Philadelphia County at 3509 N. Broad Street, 9th Floor, Philadelphia, PA 19140.

        13.     At all material times, Temple Health, acted individually and/or through its

respective agents, representatives, servants and/or employees, ostensible or otherwise, who were

then and there engaged in Temple Health's business, acting within the course and scope of their

employment for and on behalf of Temple Health.

        14.    At all material times, Dr. Lafayette was the employee, ostensible or otherwise, of

Delaware Valley and, as such, Delaware Valley remains vicariously liable for the negligent acts

and/or omissions of Dr. Lafayette.

        15.    At all material times, Dr. Shrivatsa was the employee of either TPI, Temple

and/or Temple Health and, as such, either TPI, Temple and/or Temple Health remain vicariously

liable for the negligent acts and/or omissions of Dr. Shrivatsa.




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        16.     All the acts alleged to have been done or not to have been done by Defendants

were done or were not done by Defendants, their agents, servants and/or employees, ostensible

or otherwise.

        17.     On or about March 13, 2014, Plaintiff, Ana M. Ramos, 37 year old, G6P5004,

presented to Delaware Valley for her initial visit for prenatal care at approximately 14 weeks

gestation. Plaintiff, Ana M. Ramos' obstetrical history revealed five previous spontaneous

vaginal deliveries all at full term with three previous male babies weighing from 7lbs. 12 ozs. to

9 lbs. 5 ozs. at the time of delivery. Her pregravid weight was 220 lbs. Her medical history was

significant for seizure disorder. She was also documented to be of advanced maternal age.

        18.     Plaintiff, Ana M. Ramos, continued her prenatal care with Delaware Valley. She

underwent ultrasound examinations on May 1, 2014, July 21,2014 and July 28,2014. All of

these ultrasounds were read, interpreted and/or relied upon by agents and/or employees of

Delaware Valley.

        19.     Plaintiff, Ana M. Ramos, presented to Delaware Valley for prenatal care on July

21, 2014 where she was seen and examined by Dr. Lafayette. This was a routine prenatal exam

with the exception of having been recently diagnosed with mild preeclampsia. On that date, her

weight was 239.8lbs. and her estimated gestational age was 34 weeks, 3 days. There was trace

protein seen in her urine and Dr. Lafayette ordered a one hour glucose tolerance test that was

drawn that date.

       20.      The testing for the one-hour glucose tolerance was performed at LabCorp in

Raritan, New Jersey. The results were reported as abnormal at 201 mg/dL.




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        21.     Also, on the date ofher last prenatal visit, July 21,2014, an ultrasound was

performed at approximately 2:28p.m. which was read, interpreted and/or relied upon by the

health care providers at Delaware Valley.

        22.     At no time subsequent to the prenatal visit on July 21,2014, through her labor and

delivery on August 6, 2014, did any of the health care providers from Delaware Valley,

including Dr. Lafayette, contact Plaintiff, Ana M. Ramos, to explain the risks of macrosomia to

Plaintiff, Ana M. Ramos or Plaintiff, Jose Mercado, due to her previous pregnancy history and

gestational diabetes.

        23.     Following the July 21, 2014 prenatal visit, another ultrasound was performed, ten

days later, on July 31, 2014. This ultrasound was read, interpreted and/or relied upon by the

health care providers at Delaware Valley. Again, following this ultrasound, no one from

Delaware Valley advised Plaintiff, Ana M. Ramos, of the possibility of macrosomia due to

findings on the ultrasound, recent lab tests results and risks involved with proceeding with a

vaginal delivery of a large infant including the possibility of shoulder dystocia and potential

neurological injury to the baby.

       24.      On                  Plaintiff, Ana M. Ramos, presented to Temple Hospital at or

about 2:38p.m. with complaints ofheadache, loss of mucus plug and pressure in her lower

abdomen. An initial obstetrical history and internal physical examination was obtained and

performed. Her cervix was noted to be 5 to 6 ems. dilated, 70% effaced, minus three station.

The fetal presentation, according to ultrasound, was cephalic with an anterior placenta.

Gestational age was estimated at 36 weeks, 3 days and Plaintiff, Ana M. Ramos was admitted to

the Labor and Delivery floor with a diagnosis of intrauterine pregnancy/preterm labor with mild

preeclampsia.




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        25.     Plaintiff, Ana M. Ramos was administered Nubain approximately one hour prior

to delivery and her labor was augmented with Pitocin.

        26.     On                  at or about 11:42 p.m., Dr. Shrivatsa, with the assistance of

residents, Todd A. Stems, M.D. and Lauren Malamara, M.D., delivered Minor-Plaintiff via

vaginal delivery. The records document that the delivery of Minor-Plaintiff was complicated by

shoulder dystocia; more specifically, that after the infant's head was delivered through the

vaginal opening, the anterior shoulder was noted to be lodged and stuck underneath the mother's

pubic symphysis.

        27.    Dr. Shrivatsa applied traction to the head and shoulders in order to deliver Minor-

Plaintiff prior to attempting rotational maneuvers to dislodge the shoulder and deliver the

anterior shoulder and the rest of the body.

        28.    On arrival to the warm bed, Minor-Plaintiff was noted to be limp with no

movement or respiratory effort. Minor-Plaintiff was intubated with a 3.5 endotracheal tube and

he improved in color, tone and heart rate. Minor-Plaintiff started to breathe spontaneously

around five minutes of life and the endotracheal tube was removed and he was placed on C-Pap.

Minor-Plaintiff gradually started to move both lower extremities and was transferred to the

Infant Intensive Care Unit.

       29.     According to his neurological examination, Minor-Plaintiff was noted to have full

movement of the left upper extremity with no movement of the right upper extremity.

Orthopedics was consulted and Minor-Plaintiff received a diagnosis of right brachial plexus

injury/palsy. Plaintiffs have been advised that this condition is permanent.




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        30.     At all material times, Defendants owed a duty to Plaintiffs to render reasonable

medical care and attention to Minor-Plaintiff and to avoid harm to him which duty was breached

by Defendants as more particularly hereinafter set forth at length.

        31.     All of the acts alleged to have been done or not to have been done were done or

not been done by Defendants, their agents, servants and/or employees.

        32.     At all material times, Plaintiffs acted reasonably and did not do or fail to do

anything that resulted in harm to Minor-Plaintiff.

        33.     As a result of the negligence and carelessness of the Defendants, as more

particularly hereinafter set forth, Minor-Plaintiff suffered an injury to his brachial plexus, Erbs

Palsy, weakness and paralysis of the right upper extremity and other extensive neurological

damage including, but not limited to, denervation and right upper extremity palsy. Plaintiffs

have been advised that some or all of these conditions are permanent.

        34.     The negligence of the Defendants as more particularly hereinafter set forth,

increased the risk ofhann to Minor-Plaintiff and was a factual cause of serious and permanent

harm to Minor-Plaintiff.

        35.     At all material times, Defendants were licensed health care providers who

provided the aforementioned care and treatment to Minor-Plaintiff and to his mother, Plaintiff,

Ana M. Ramos, in Philadelphia County, Pennsylvania. Plaintiffs are asserting a professional

liability claim against all Defendants.

                             COUNT I- NEGLIGENCE
              PLAINTIFFS V. DEFENDANT, TAMEKA P. LAFAYETTE, M.D.

        36.     Plaintiffs incorporate, by reference, all of the allegations of the foregoing

paragraphs as if fully set forth at length herein.




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       37.     At all material times, Dr. Lafayette undertook and/or assumed a duty to render

reasonable, proper, adequate and appropriate medical care to Plaintiff, Ana M. Ramos and,

consequently, to Minor-Plaintiff and to avoid hann to them which duty Dr. Lafayette breached.

       38.     At all material times, Plaintiff, Ana M. Ramos and Jose Mercado, relied on the

medical knowledge, treatment and advice of Dr. Lafayette to her great detriment and harm.

       39.     The carelessness and negligence of Dr. Lafayette, with respect to the medical care

provided to Plaintiff, Ana M. Ramos, which is more particularly set forth hereinafter, increased

the risk and was a factual cause of harm sustained by Minor-Plaintiff.

       40.     Dr. Lafayette, acting by and through her agents, ostensible agents, representatives,

servants and/or employees, was careless and negligent and her care was substandard in the

following respects:

               a.     Failing to offer/proceed with Cesarean section delivery;

               b.     Failing to diagnose macrosomia;

               c.     Failing appropriately to counsel Plaintiff, Ana M. Ramos regarding the
                      risks of vaginal delivery;

               d.     Failing appropriately to read/interpret fetal ultrasound(s);

               e.     Underappreciating fetal measurements;

               f.     Failing to repeat fetal ultrasound in a timely fashion;

               g.     Failing to place Plaintiff, Ana M. Ramos, at high risk for a shoulder
                      dystocia delivery;

               h.     Underestimating fetal weight and the size of the baby;

               i.     Failing appropriately to diagnose and treat gestational diabetes in a timely
                      fashion;

              j.      Failing to appreciate the significance of gestational diabetes and maternal
                      hyperglycemia as it relates to macrosomia and the potential for a shoulder
                      dystocia delivery;

               k.     Failing to follow-up on blood test results in a timely fashion;



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                1.      Failing timely to forward results of the one-hour glucose tolerance test to
                        the Temple Labor & Delivery Department;

                m.      Failing appropriately and properly to communicate with health care
                        providers at Temple regarding her patient, Plaintiff, Ana M. Ramos, as it
                        relates to lab test results, including a one-hour glucose tolerance test,
                        results from fetal ultrasounds and the potential for macrosomia and a
                        shoulder dystocia delivery;

                n.      Failing promptly and properly to order and/or arrange for delivery of
                        Minor-Plaintiff by operative delivery;

                o.      Failing appropriately and properly to communicate with Plaintiff, Ana M.
                        Ramos' treating obstetricians while she was undergoing labor at Temple
                        Hospital regarding the possibility for shoulder dystocia delivery; and,

                p.      Failure to diagnose polyhydramnios.

        41.     Dr. Lafayette, through her negligence and carelessness, increased the risk of harm

to Minor-Plaintiff as set forth in paragraphs a through p, above.

        42.     The above-referenced condition of Minor-Plaintiff and the injuries, losses and

damages he suffered as a result thereof, were factually and proximately caused by the negligence

of Dr. Lafayette, her agents, servants, and/or employees, as set forth herein.

        43.     As a result of the negligent conduct as set forth above, Minor-Plaintiff, has

sustained serious and permanent injuries including, but not limited to, brachial plexus injury,

Erbs Palsy, weakness and paralysis of the right upper extremity and other neurological damage

including, but not limited to, denervation and right upper extremity palsy, as well as a severe

shock to his nerves and nervous system, all of which has caused him severe pain and suffering

and has and will prevent her from attending to his usual daily duties and activities causing a loss

of earnings and earning power and forcing him and his parents to spend money and incur

financial obligations in an effort to effect a cure for the injuries aforementioned, all of which

Minor-Plaintiffs mother, Ana M. Ramos and his father, Plaintiff, Jose Mercado, have been

advised are or may be permanent.



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        44.      As a result of the negligent conduct as set forth above, Minor-Plaintiff has and

will in the future suffer pain, anxiety, depression, severe shock and other physical, psychological

and emotional injuries and upset, the full extent of which is not yet known, and all of which are

permanent in nature.

        45.     As a result of the negligent conduct as set forth above, Minor-Plaintiff has in the

past undergone and will in the future undergo great pain, suffering, embarrassment, bodily

deformation and disfigurement, disability, loss of life's pleasures, loss of wellbeing, inability to

engage in normal activities, duties, applications and occupations, and has required and will

require substantial expenditures for education, therapy, medicine, medical and surgical care,

testing, hospitalization, rehabilitation and other health care treatment.

        WHERFORE, Minor Plaintiff,                          , by and through his parents and natural

guardians, Ana M. Ramos and Jose Mercado and Ana M. Ramos and Jose Mercado, in their own

right, claim of the Defendants, jointly and severally, a sum in excess ofFifty Thousand

($50,000.00) Dollars in compensatory damages with lawful interest thereon and costs of suit and

brings this action to recover the same. The sum sued upon is for an amount that does not require

submission to arbitration.

                         COUNT ll- NEGLIGENCE
 PLAINTIFFS V. DEFENDANT, DELAWARE VALLEY COMMUNITY HEALTH, INC.
                T/A MARIA DE LOS SANTOS HEALTH CENTER

        46.     Plaintiffs incorporate, by reference, all of the al1egations of the foregoing

paragraphs as if fully set forth at length herein.

        47.     Delaware Valley, through their agents, servants and/or employees, ostensible or

otherwise and, in particular, those health care providers who were responsible for

communicating the results of the one hour glucose tolerance test collected on July 21, 2014 to

Plaintiff, Ana M. Ramos' health care providers at either Delaware Valley and/or Temple, as well


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as any/all health care providers-agents who read, interpreted and were responsible for

communicating the results of all ultrasound examinations performed during the prenatal care

provided to Plaintiff, Ana M. Ramos in 2014, at all times, undertook and/or assumed a duty to

render reasonable, proper, adequate and appropriate medical care to Plaintiff, Ana M. Ramos and

to Minor-Plaintiff and to avoid harm to them which duty these agents, servants and/or

employees, ostensible or otherwise breached.

       48.     At all material times, Plaintiffs, Ana M. Ramos and Jose Mercado relied on the

medical knowledge, treatment and advice of the agents, servants and/or employees of Delaware

Valley to their great detriment and harm.

       49.     The carelessness and negligence of Delaware Valley, their agents, servants and/or

employees, with respect to the medical care they provided to Plaintiff, Ana M. Ramos, which is

more particularly set forth hereinafter, increased the risk of harm and was a factual cause of harm

sustained by Minor-Plaintiff.

       50.     Delaware Valley, acting through their agents, ostensible agents, representatives,

servants and/or employees, was careless and negligent, and their care was substandard in the

following respects:

               a.      Improperly interpreting fetal ultrasound(s);

               b.      Failing to diagnose macrosomia;

               c.     Failing appropriately to counsel Plaintiff, Ana M. Ramos, regarding the
                      risks of vaginal delivery;

               d.      Underappreciating fetal measurements on ultrasound examination;

               e.     Failing to repeat fetal ultrasound in a timely fashion;

               f.     Failing to communicate ultrasound results to Temple Hospital;

               g.     Failing to place Plaintiff, Ana M. Ramos, at high risk for a shoulder
                      dystocia delivery;



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                h.      Underestimating fetal weight and the size of the baby;

                1.      Failure to diagnose polyhydramnios;

                j.      Failing appropriately to diagnose and treat gestational diabetes;

                k.      Failing appropriately to communicate with the health care providers at
                        Temple Hospital regarding Plaintiffs diagnosis of gestational diabetes;

                I.      Failing to forward lab results including a one-hour blood glucose screen
                        drawn on July 21, 2014 to the Temple Hospital Labor & Delivery
                        Department;

                m.      Failing to appreciate the significance of gestational diabetes as it relates to
                        macrosomia and the potential for shoulder dystocia delivery;

                n.     Failing promptly and properly to seek assistance to evaluate, assess and
                       respond to ultrasounds concerning Minor-Plaintiff; and,

                o.     Failing timely and appropriately to consult with attending Ob/Gyns
                       regarding the results of the one-hour blood glucose testing and/or
                       ultrasound examinations.

        51.     Delaware Valley, through their negligence and carelessness, increased the risk of

harm to Minor Plaintiff as a result of the negligence and carelessness as set forth in paragraphs a

through o, above.

        52.    The above-referenced condition of Minor-Plaintiff and the injuries, losses and

damages he suffered as a result thereof, were factually and proximately caused by the negligence

of Delaware Valley, their agents, servants, and/or employees, as set forth herein.

        53.    As a result of the negligent conduct as set forth above, Minor-Plaintiff, has

sustained serious and permanent injuries including, but not limited to, brachial plexus injury,

Erbs Palsy, weakness and paralysis of the right upper extremity and other neurological damage

including, but not limited to, denervation and right upper extremity palsy, as well as a severe

shock to his nerves and nervous system, all of which has caused him severe pain and suffering

and has and will prevent him from attending to his usual daily duties and activities causing a loss

of earnings and earning power and forcing him and his parents to spend money and incur


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obligations in an effort to effect a cure for the injuries aforementioned, all of which Minor-

Plaintiffs mother, Ana M. Ramos, and his father, Plaintiff, Jose Mercado, have been advised are

or may be permanent.

        54.     As a result of the negligent conduct as set forth above, Minor-Plaintiff has and

will in the future suffer pain, anxiety, depression, severe shock and other physical, psychological

and emotional injuries and upset, the full extent of which is not yet known, and all of which are

permanent in nature.

        55.     As a result of the negligent conduct as set forth above, Minor-Plaintiff has in the

past undergone and will in the future undergo great pain, suffering, embarrassment, bodily

deformation and disfigurement, disability, loss of life's pleasures, loss of wellbeing, inability to

engage in normal activities, duties, applications and occupations, and has required and will

require substantial expenditures for education, therapy, medicine, medical and surgical care,

testing, hospitalization, rehabilitation and other health care treatment.

        WHERFORE, Minor Plaintiff,                           by and through his parents and natural

guardians, Ana M. Ramos and Jose Mercado, and Ana M. Ramos and Jose Mercado, in their

own right, claim of the Defendants, jointly and severally, a sum in excess of Fifty Thousand

($50,000.00) Dollars in compensatory damages with lawful interest thereon and costs of suit and

brings this action to recover the same. The sum sued upon is for an amount that does not require

submission to arbitration.

                              COUNT III- NEGLIGENCE
              PLAINTIFFS VS. DEFENDANT, SHWETHA S. SHRIVATSA, M.D.

        56.     Plaintiffs incorporate, by reference, all of the allegations of the foregoing

paragraphs as if fully set forth at length herein.




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        57.     Dr. Shirvasta, at all times, undertook and/or assumed the duty to render

reasonable, proper, adequate and appropriate medical care to Plaintiff, Ana M. Ramos and,

consequently to Minor-Plaintiff and to avoid harm to them which duty Dr. Shirvasta breached.

       58.     At all material times, Plaintiffs, Ana M. Ramos and Jose Mercado, relied on the

medical knowledge, treatment and advice of Dr. Shirvasta to their great detriment and loss.

       59.     The carelessness and negligence of Dr. Shirvasta with respect to the medical care

provided to Plaintiff, Ana M. Ramos, which is more particularly set forth hereinafter, increased

the risk of harm and was a factual cause ofhann sustained by Minor- Plaintiff.

       60.     Dr. Shirvasta, acting individually or by and through her agents, ostensible agents,

representatives, servants and/or employees, was careless and negligent and her care was

substandard in the following respects:

               a.      Negligently applying excessive pressure during the delivery of Minor-
                       Plaintiff;

               b.      Negligently using excessive traction and force during the delivery of
                       Minor-Plaintiff;

               c.      Failure to attempt to perform a vacuum extraction delivery;

               d.      Failing to appreciate that Plaintiff, Ana M. Ramos was at high risk for a
                       shoulder dystocia delivery;

               e.      Failing to diagnose macrosomia prior to delivery;

               f.      Failing appropriately to read and interpret ultrasounds;

               g.     Failing to appreciate that Plaintiff, Ana M. Ramos had gestational diabetes
                      as it relates to macrosomia and the potential for a shoulder dystocia
                      delivery;

               h.     Failing timely to perfonn the delivery;

               1.     Negligently injuring the brachial plexus during delivery;

              j.      Failing to take appropriate steps to prevent a brachial plexus injury;
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                k.      Failing to perform appropriate maneuvers to free the impacted shoulder at
                        delivery;

                1.      Underestimating the fetal weight and size of the baby;

                m.      Failure to diagnose polyhydramnios;

                n.      Failing to perform the appropriate maneuvers in the appropriate order to
                        free the impacted shoulder;

                o.      Failing timely to order and perform a C-section delivery;

                p.      Failing appropriately to appreciate the size and weight of Minor-Plaintiff
                        prior to attempting and during the vaginal delivery; and,

                q.      Giving Plaintiffs, Ana M. Ramos and Jose Mercado insufficient,
                        inaccurate and/or misleading information, advice and instructions
                        concerning the efficacy of a vaginal delivery as opposed to other types of
                        delivery with respect to the potential for shoulder dystocia.

        61.     Dr. Shrivatsa, through her negligence and carelessness, increased the risk of harm

to Minor-Plaintiff as a result of the negligence and carelessness as set forth in paragraphs a

through o, above.

        62.     The above-referenced condition of Minor-Plaintiff and the injuries, losses and

damages he suffered as a result thereof, were factually and proximately caused by the negligence

of Dr. Shrivatsa, her agents, servants, and/or employees, as set forth herein.

        63.     As a result ofthe negligent conduct as set forth above, Minor-Plaintiff, has

sustained serious and permanent injuries including, but not limited to, brachial plexus injury,

Erbs Palsy, weakness and paralysis of the right upper extremity and other neurological damage

including, but not limited to, denervation and right upper extremity palsy, as well as a severe

shock to his nerves and nervous system, all of which has caused him severe pain and suffering

and has and will prevent him from attending to his usual daily duties and activities causing a loss

of earnings and earning power and forcing him and his parents to spend money and incur

obligations in an effort to effect a cure for the injuries aforementioned, all of which Minor-
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Plaintiffs mother, Ana M. Ramos, and his father, Jose Mercado, have been advised are or may

be permanent.

        64.      As a result of the negligent conduct as set forth above, Minor-Plaintiff has and

will in the future suffer pain, anxiety, depression, severe shock and other physical, psychological

and emotional injuries and upset, the full extent of which is not yet known, and all of which are

permanent in nature.

        65.     As a result of the negligent conduct as set forth above, Minor-Plaintiff has in the

past undergone and will in the future undergo great pain, suffering, embarrassment, bodily

deformation and disfigurement, disability, loss of life's pleasures, loss of wellbeing, inability to

engage in normal activities, duties, applications and occupati Negligently applying excessive

pressure during the delivery of Minor-Plaintiff;

        WHERFORE, Minor Plaintiff,                           by and through his parents and natural

guardians, Ana M. Ramos and Jose Mercado and Ana M. Ramos and Jose Mercado, in their own

right, claim ofthe Defendants, jointly and severally, a sum in excess of Fifty Thousand

($50,000.00) Dollars in compensatory damages with lawful interest thereon and costs of suit and

brings this action to recover the same. The sum sued upon is for an amount that does not require

submission to arbitration.

                             COUNT IV- NEGLIGENCE
               PLAINTIFFS VS. DEFENDANT, TEMPLE PHYSICIANS, INC.

        66.     Plaintiffs incorporate by reference all of the allegations of the foregoing

paragraphs as if fully set forth at length herein.

        67.     At all material times, Dr. Shrivatsa was the actual and/or ostensible employee of

TPI and, therefore, TPI is liable to Minor-Plaintiff for the negligent acts and/or omissions of their

employee, Dr. Shirvasta, under respondeat superior liability.



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        WHEREFORE, Minor Plaintiff,                          , by and through his parents and

natural guardians, Ana M. Ramos and Jose Mercado and Ana M. Ramos and Jose Mercado, in

their own right, claim of the Defendants, jointly and severally, in excess of Fifty Thousand

($50,000.00) Dollars in compensatory damages with lawful interest thereon and costs of suit and

brings this action to recover the same. The sum sued upon is for an amount that does not require

submission to arbitration.

                         COUNT V- NEGLIGENCE
    PLAINTIFFS VS. DEFENDANT, TEMPLE UNIVERSITY HOSPITAL, INC. AND
                TEMPLE UNIVERSITY HEALTH SYSTEM, INC.


        68.     Plaintiffs incorporate by reference all of the allegations ofthe foregoing

paragraphs as if fully set forth at length herein.

        69.     Temple and/or Temple Health, through their agents, servants and/or employees,

ostensible or otherwise and, in particular, those health care providers who provided obstetrical

care for Ana M. Ramos on or about August 5, 2014 through the time of her delivery, at all times,

undertook and/or assumed the duty to render reasonable, proper, adequate and appropriate

medical care to Ana M. Ramos and to Minor-Plaintiff and to avoid harm to them, which duty

these agents, servants and/or employees, ostensible or otherwise breached.

        70.     The carelessness and negligence of Temple and/or Temple Health with respect to

the medical care provided to Ana M. Ramos which is more particularly set forth hereinafter,

increased the risk of harm and was a factual cause of harm sustained by Minor- Plaintiff.

       71.     Temple and/or Temple Health, acting by and through her agents, ostensible

agents, representatives, servants and/or employees, was careless and negligent and their care was

substandard in the following respects:

               a.      Failing promptly and properly to deliver Minor-Plaintiff;
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      b.    Failing promptly and properly to order and/or deliver Minor-Plaintiff by
            operative delivery;

      c.   Failing promptly and properly to monitor and evaluate Ana M. Ramos •
           labor with Minor-Plaintiff;

      d.   Failing to promptly and properly evaluate and access the clinical signs and
           symptoms of a potential shoulder dystocia delivery concerning Minor-
           Plaintiff;

      e.   Failing to obtain and review prenatal blood test results confirming
           gestational diabetes;

      f.   Failing to diagnose fetal macrosomia;

      g.   Failing to diagnose polyhydramnios;

      h.   Underestimating fetal weight and size;

      i.   Negligently applying excessive pressure during the delivery of Minor-
           Plaintiff;

     j.    Negligently using excessive traction and force during the delivery of
           Minor-Plaintiff;

     k.    Failure to attempt to perform a vacuum extraction delivery;

     1.    Failing to appreciate that Plaintiff, Ana M. Ramos was at high risk for
           shoulder dystocia delivery;

     m.    Failing to diagnose macrosomia prior to delivery;

     n.    Failing appropriately to read and interpret ultrasounds;

     o.    Failing to appreciate that Plaintiff, Ana M. Ramos had gestational
           diabetes;

     p.    Failing timely to perform the delivery;

     q.    Negligently injuring the brachial plexus during delivery;

     r.    Failing to take appropriate steps to prevent a brachial plexus injury;

     s.    Failing to perform appropriate maneuvers to free the impacted shoulder at
           delivery;

     t.    Failing to perform the appropriate maneuvers in the appropriate order to
           free the impacted shoulder upon delivery;
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                u.      Failing timely to order and perform a C-section delivery;

                v.      Failing appropriately to appreciate the size and weight of Minor-Plaintiff
                        prior to attempting and during the vaginal delivery; and,

                w.      Giving Plaintiffs, Ana M. Ramos and Jose Mercado insufficient,
                        inaccurate and/or misleading information, advice and instructions
                        concerning the efficacy of a vaginal delivery as opposed to other types of
                        delivery with respect to the potential for shoulder dystocia.

        72.     Temple and/or Temple Health, through their negligence and carelessness,

increased the risk of harm to Minor-Plaintiff as a result of the negligence and carelessness as set

forth in paragraphs (a) through (w), above.

        73.     The above-referenced condition of Minor-Plaintiff and the injuries, losses and

damages he suffered as a result thereof, were factually and proximately caused by the negligence

of Temple and/or Temple Health, their agents, servants, and/or employees, as set forth herein.

        74.     As a result of the negligent conduct as set forth above, Minor~ Plaintiff, has

sustained serious and permanent injuries including, but not limited to, brachial plexus, Erbs

Palsy, weakness and paralysis of the right upper extremity and other neurological damage

including, but not limited to, denervation and right upper extremity palsy, as well as a severe

shock to his nerves and nervous system, all of which has caused him severe pain and suffering

and has prevented him from attending to his usual daily duties and activities causing a loss of

earnings and earning power and forcing him and his parents to spend money and incur

obligations in an effort to effect a cure for the injuries aforementioned, all of which Minor~

Plaintiff's mother, Ana M. Ramos, has been advised are or may be permanent.

        75.    As a result of the negligent conduct as set forth above,   Minor~Plaintiff has   and

will in the future suffer pain, anxiety, depression, severe shock and other physical, psychological

and emotional injuries and upset, the full extent of which is not yet Irnown, and all of which are

permanent in nature.
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        76.     As a result ofthe negligent conduct as set forth above, Minor-Plaintiff has in the

past undergone and will in the future undergo great pain, suffering, embarrassment, bodily

deformation and disfigurement, disability, loss of life's pleasures, loss of wellbeing, inability to

engage in normal activities, duties, applications and occupations, and has required and will

require substantial expenditures for education, therapy, medicine, medical and surgical care,

testing, hospitalization, rehabilitation and other health care treatment.

        WHEREFORE, Minor Plaintiff,                            by and through his parents and

natural guardians, Ana M. Ramos and Jose Mercado and Ana M. Ramos and Jose Mercado, in

their own right, claim of the Defendants, jointly and severally, in excess of Fifty Thousand

($50,000.00) Dollars, in compensatory damages with lawful interest thereon and costs of suit and

brings this action to recover the same. The sum sued upon is for an amount that does not require

submission to arbitration.

                      COUNT V- PLAINTIFFS VS. ALL DEFENDANTS

        77.     Plaintiffs incorporate by reference all of the allegations of the foregoing

paragraphs as if fully set forth at length herein.

        78.     Plaintiffs, Ana M. Ramos and Jose Mercado, in their own right, bring this action

against Defendants in order to recover for all health care costs that have been incurred and will

be incurred as a result of Defendants' negligence during the period of Minor-Plaintiffs minority

as well as for the loss of the society, comfort and services of the minor for the period his

minority.

       WHEREFORE, Minor Plaintiff,                            by and through his parents and

natural guardians, Ana M. Ramos and Jose Mercado and Ana M. Ramos and Jose Mercado, in

their own right, claim of the Defendants, jointly and severally, in excess of Fifty Thousand

($50,000.00) Dollars, in compensatory damages with lawful interest thereon and costs of suit and


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brings this action to recover the same. The sum sued upon is for an amount that does not require

submission to arbitration.

                                                    Respectfully submitted,

                                                    EISENBERG                      R
                                                        ·~.L1 ......., EISENBERG & JECK, P.C.




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              Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 26 of 38


...
                                                VEIUFICATION


              Daniel Jeck, Esquire, verifies that he is an attorney for the Plaintiff(s) in the foregoing



      knowledge, information and belief; and that       s statement is made subject to the penalties of 18

      Pa. C.S. §4904 relating to unsworn falsificatii



      Date:   j   ~~?l f G




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        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 27 of 38



EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
      Joshua B. Schwartz, Esquire
ATTORNEY I.D. 67454/210208
1634 Spruce Street
Philadelphia, PA 19103
 215 546-6636
                           , a minor, by and through his
 parents and natural guardians., ANA M. RAMOS and
 JOSE MERCADO, and ANA M. RAMOS AND JOSE
 MERCADO, in their own right                                      TERM, 2016
 183 7 East Tioga Street
 Philadelphia, Pennsylvania 19134                          NO.
                And
2111North Howard Street                                    CIVIL ACTION
Philadelphia, Pennsylvania 19122
                                Plaintiffs                 JURY TRIAL DEMANDED
                            vs.
TAMEKA P. LAFAYETTE, M.D.
c/o MARIA DE LOS SANTOS HEALTH CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                            And
DELAWARE VALLEY COMMUNITY HEALTH,
INC., t/a MARIA DE LOS SANTOS HEALTH
CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                          And
SHWETHA S. SHRIVATSA,M.D.
462 N. 6th Street
Philadelphia, Pennsylvania 19123
                           And
TEMPLE PHYSICIANS, INC.
2540 W. Hunting Park Avenue
Philadelphia, Pennsylvania 19129
                           And
TEMPLE UNIVERSITY HOSPITAL, INC.
3509 North Broad Street
9th Floor
Philadelphia, Pennsylvania 19140
                           And
TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 9th Floor
Philadelphia, Pennsylvania 19140
                              Defendants
        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 28 of 38



                            CERTIFICATE OF MERIT AS TO
                       DEFENDANT, TAMEKA P. LAFAYETIE, M.D.

I, Daniel Jeck, Esquire, certify that:

 X      an appropriate licensed professional(s) has supplied a written statement(s) to the

undersigned that there is a basis to conclude that the care, skill or knowledge exercised or

exhibited by this Defendant in the treatment, practice or work that is the subject matter of the

Complaint, fell outside acceptable professional standards and that such conduct was a cause in

bringing about the harm;

AND/OR



__ the claim that this Defendant deviated from an acceptable professional standard is based

solely on allegations that other licensed professionals for whom this Defendant is responsible

deviated from an acceptable professional standards and an appropriate license professional(s)

has supplied a written statement(s) to the undersigned that there is a basis to conclude that the

care, skill or knowledge exercised or exhibited by the other licensed professionals in the

treatment, practice or work that is the subject of the Complaint, fell outside acceptable

professional standards and that such conduct was a cause in bringing about the harm;

OR

_expert testimony of an appropriate licensed professional is unnecessary for prosecution of the

claim against this Defendant.

                                                        ERG, ROTHWEILER,
                                                         R, EISENBERG & JECK, P.C.



                                                          "el Jeck, Esquire
                                                       oshua B. Schwartz, Esquire
                                                      Attorneys for Plaintiffs
DATE:
        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 29 of 38



EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
      Joshua B. Schwartz, Esquire
ATTORNEY I.D. 67454/210208
1634 Spruce Street
Philadelphia, PA 19103
 215 546-6636
                           a minor, by and through his
parents and natural guardians, ANA M. RAMOS and
JOSE MERCADO, and ANA M. RAMOS AND JOSE
 MERCADO, in their own right                                    TERM, 2016
 183 7 East Tioga Street
Philadelphia, Pennsylvania 19134                         NO.
                And
2111North Howard Street                                  CIVIL ACTION
Philadelphia, Pennsylvania 19122
                              Plaintiffs                 JURY TRIAL DEMANDED
                          vs.
TAMEKA P. LAFAVETTE, M.D.
c/o MARIA DE LOS SANTOS HEALTH CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                          And
DELAWARE VALLEY COMMUNITY HEALTH,
INC., t/a MARIA DE LOS SANTOS HEALTH
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401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                         And
SHWETHA S. SHRIVATSA, M.D.
462 N. 6th Street
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3509 North Broad Street
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TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 9th Floor
Philadelphia, Pennsylvania 19140
                            Defendants




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                   CERTIFICATE OF MERIT AS TO
  DEFENDANT, DELAWARE VALLEY COMMUNITY HEALTH INC., t/a MARIA DE
                   LOS SANTOS HEALTH CENTER

I, Daniel Jeck, Esquire, certify that:

 X      an appropriate licensed professional(s) has supplied a written statement(s) to the

undersigned that there is a basis to conclude that the care, skill or knowledge exercised or

exhibited by this Defendant in the treatment, practice or work that is the subject matter of the

Complaint, fell outside acceptable professional standards and that such conduct was a cause in

bringing about the harm;

AND/OR



X       the claim that this Defendant deviated from an acceptable professional standard is based

solely on allegations that other licensed professionals for whom this Defendant is responsible

deviated from an acceptable professional standards and an appropriate license professional(s)

has supplied a written statement(s) to the undersigned that there is a basis to conclude that the

care, skill or knowledge exercised or exhibited by the other licensed professionals in the

treatment, practice or work that is the subject of the Complaint, fell outside acceptable

professional standards and that such conduct was a cause in bringing about the harm;

OR

_expert testimony of an appropriate licensed professional is unnecessary for prosecution of the

claim against this Defendant.




                                              BY:____~~~-------------------
                                                               eck, Esquire
                                                            a B. Schwartz, Esquire
                                                      Attorneys for Plaintiffs
DATE:


                                                                                        r l ___   T~.   ·1 i:.f\f:{\"')'7
        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 31 of 38




EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
       Joshua B. Schwartz, Esquire
ATTORNEY I.D. 67454/210208
1634 Spruce Street
Philadelphia, PA 19103
(215) 546-6636
                          , a minor, by and through his
 parents and natural guardians, ANA M. RAMOS and
 JOSE MERCADO, and ANA M. RAMOS AND JOSE
 MERCADO, in their own right                                     TERM, 2016
 1837 East Tioga Street
 Philadelphia, Pennsylvania 19134                         NO.
                And
 2111 North Howard Street                                 CIVIL ACTION
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TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 9th Floor
Philadelphia, Pennsylvania I 9140
                             Defendants
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                             CERTIFICATE OF MERIT AS TO
                        DEFENDANT, SHWETHA S. SHRIVATSA, M.D.

I, Daniel Jeck, Esquire, certify that:

 X      an appropriate licensed professional(s) has supplied a written statement(s) to the

undersigned that there is a basis to conclude that the care, skil1 or knowledge exercised or

exhibited by this Defendant in the treatment, practice or work that is the subject matter of the

Complaint, fell outside acceptable professional standards and that such conduct was a cause in

bringing about the hann;

AND/OR



__ the claim that this Defendant deviated from an acceptable professional standard is based

solely on allegations that other licensed professionals for whom this Defendant is responsible

deviated from an acceptable professional standards and an appropriate license professional(s)

has supplied a written statement(s) to the undersigned that there is a basis to conclude that the

care, skill or knowledge exercised or exhibited by the other licensed ·professionals in the

treatment, practice or work that is the subject of the Complaint, fell outside acceptable

professional standards and that such conduct was a cause in bringing about the harm;

OR

_expert testimony of an appropriate licensed professional is unnecessary for prosecution of the

claim against this Defendant.




                                                            1e Jeck, Esquire
                                                    .__..,'""'ua B. Schwartz, Esquire
               (    f
DATE:
            ( ·~~ (b    I
                                                      Attorneys for Plaintiffs
           J   '




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        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 33 of 38




EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
       Joshua B. Schwartz, Esquire
ATTORNEY I.D. 67454/210208
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 215 546-6636
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parents and natural guardians, ANA M. RAMOS and
 JOSE MERCADO, and ANA M. RAMOS AND JOSE
MERCADO, in their own right                                     TERM, 2016
 1837 East Tioga Street
Philadelphia, Pennsylvania 19134                         NO.
                And
2111North Howard Street                                  CIVIL ACTION
Philadelphia, Pennsylvania 19122
                              Plaintiffs                 JURY TRIAL DEMANDED
                          vs.
T AMEKA P. LAFAVETTE, M.D.
c/o MARIA DE LOS SANTOS HEALTH CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                          And
DELAWARE VALLEY COMMUNITY HEALTH,
INC., t/a MARIA DE LOS SANTOS HEALTH
CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                         And
SHWETHA S. SHRIVATSA, M.D.
462 N. 61h Street
Philadelphia, Pennsylvania 19123
                          And
TEMPLE PHYSICIANS, INC.
2540 W. Hunting Park Avenue
Philadelphia, Pennsylvania 19129
                          And
TEMPLE UNIVERSITY HOSPITAL, INC.
3509 North Broad Street
91h Floor
Philadelphia, Pennsylvania 19140
                          And
TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 91h Floor
Philadelphia, Pennsylvania 19140
                            Defendants
        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 34 of 38



                             CERTIFICATE OF MERIT AS TO
                         DEFENDANT, TEMPLE PHYSICIANS, INC.

I, Daniel Jeck, Esquire, certify that

 X      an appropriate licensed professional(s) has supplied a written statement(s) to the

undersigned that there is a basis to conclude that the care, skill or knowledge exercised or

exhibited by this Defendant in the treatment, practice or work that is the subject matter of the·

Complaint, fell outside acceptable professional standards and that such conduct was a cause in

bringing about the harm;

AND/OR



X       the claim that this Defendant deviated from an acceptable professional standard is based

solely on allegations that other licensed professionals for whom this Defendant is responsible

deviated from an acceptable professional standards and an appropriate license professional(s)

has supplied a written statement(s) to the undersigned that there is a basis to conclude that the

care, skill or lrnowledge exercised or exhibited by the other licensed professionals in the

treatment, practice or work that is the subject of the Complaint, fell outside acceptable

professional standards and that such conduct was a cause in bringing about the harm;

OR

_expert testimony of an appropriate licensed professional is unnecessary for prosecution of the

claim against this Defendant.

                                              EISEN ERG, ROTHWEILER,
                                              WIN    R, EISENBERG & JECK, P.C.
                                                       \

                                                            Jeck, Esquire
                                                      Joshua B. Schwartz, Esquire
                                                      Attorneys for Plaintiffs




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       Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 35 of 38




EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
       Joshua B. Schwartz, Esquire
ATTORNEY J.D. 67454/210208
1634 Spruce Street
Philadelphia, PA 19103
 215 546-6636
                           a minor, by and through his
parents and natural guardians, ANA M. RAMOS and
JOSE MERCADO, and ANA M. RAMOS AND JOSE
MERCADO, in their own right                                     TERM,2016
1837 East Tioga Street
Philadelphia, Pennsylvania 19134                         NO.
               And
2111North Howard Street                                  CIVIL ACTION
Philadelphia, Pennsylvania 19122
                              Plaintiffs                 JURY TRIAL DEMANDED
                          vs.
TAMEKA P. LAFAYETTE, M.D.
c/o MARIA DE LOS SANTOS HEALTH CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                         And
DELAWARE VALLEY COMMUNITY HEALTH,
INC., t/a MARIA DE LOS SANTOS HEALTH
CENTER
401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                        And
SHWETHA S. SHRIVATSA, M.D.
462 N. 6th Street
Philadelphia, Pennsylvania 19123
                          And
TEMPLE PHYSICIANS, INC.
2540 W. Hunting Park Avenue
Philadelphia, Pennsylvania 19129
                         And
TEMPLE UNIVERSITY HOSPITAL, INC.
3509 North Broad Street
9th Floor
Philadelphia, Pennsylvania 19140
                         And
TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 9th Floor
Philadelphia, Pennsylvania 19140
                            Defendants
        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 36 of 38



                         CERTIFICATE OF MERIT AS TO
                  DEFENDANT, TEMPLE UNIVERSITY HOSPITAL, INC.

I, Daniel Jeck, Esquire, certify that:

 X      an appropriate licensed professional(s) has supplied a written statement(s) to the

undersigned that there is a basis to conclude that the care, skill or knowledge exercised or

exhibited by this Defendant in the treatment, practice or work that is the subject matter of the

Complaint, fell outside acceptable professional standards and that such conduct was a cause in

bringing about the harm;

AND/OR



X       the claim that this Defendant deviated from an acceptable professional standard is based

solely on allegations that other licensed professionals for whom this Defendant is responsible

deviated from an acceptable professional standards and an appropriate license professional(s)

has supplied a written statement(s) to the undersigned that there is a basis to conclude that the

care, skill or knowledge exercised or exhibited by the other licensed professionals in the

treatment, practice or work that is the subject of the Complaint, fell outside acceptable

professional standards and that such conduct was a cause in bringing about the harm;

OR

_expert testimony of an appropriate licensed professional is unnecessary for prosecution of the

claim against this Defendant                        ~'
                                                    {

                                              EISJd.NBERG, ROTHWEILER,
                                              W~E , EISENBERG & JECK, P.C.
                                                     '""'-.:


                                                     Da el Jeck, Esquire      .
                                                ----r.;oshua B. Schwartz, Esquire
                                                     Attorneys for Plaintiffs
DATE:
        Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 37 of 38




EISENBERG, ROTHWEILER,
WINKLER, EISENBERG & JECK, P.C.
BY: Daniel Jeck, Esquire
      Joshua B. Schwartz, Esquire
ATTORNEY I.D. 67454/210208
1634 Spruce Street
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 215 546-6636
                          , a minor, by and through his
 parents and natural guardians, ANA M. RAMOS and·
 JOSE MERCADO, and ANA M. RAMOS AND JOSE
 MERCADO, in their own right                                     TERM, 2016
 1837 East Tioga Street
 Philadelphia, Pennsylvania 19134                         NO.
                And
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 Philadelphia, Pennsylvania 19122
                               Plaintiffs                 JURY TRIAL DEMANDED
                           vs.
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401-55 West Allegheny Avenue
Philadelphia, Pennsylvania 19133
                         And
SHWETHA S. SHRIVATSA, M.D..
462 N. 6th Street
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                           And
TEMPLE PHYSICIANS, INC.
2540 W. Hunting Park Avenue
Philadelphia, Pennsylvania 19129
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TEMPLE UNIVERSITY HOSPITAL, INC.
3509 North Broad Street
9th Floor
Philadelphia, Pennsylvania 19140
                          And
TEMPLE UNIVERSITY HEALTH SYSTEM, INC.
3509 North Broad Street, 9th Floor
Philadelphia, Pennsylvania 19140
                             Defendants
              Case 2:16-cv-04495-JP Document 2-2 Filed 08/18/16 Page 38 of 38
. .
                              CERTIFICATE OF MERIT AS TO
                   DEFENDANT, TEMPLE UNIVERSITY HEALTH SYSTEM, INC.

      I, Daniel Jeck, Esquire, certify that:

      X       an appropriate licensed professional(s) has supplied a written statement(s) to the

      undersigned that there is a basis to conclude that the care, skill or knowledge exercised or

      exhibited by this Defendant in the treatment, practice or work that is the subject matter of the

      Complaint, fell outside acceptable professional standards and that such conduct was a cause in

      bringing about the harm;

      AND/OR



      X       the claim that this Defendant deviated from an acceptable professional standard is based

      solely on allegations that other licensed professionals for whom this Defendant is responsible

      deviated from an acceptable professional standards and an appropriate license professional(s)

      has supplied a written statement(s) to the undersigned that there is a basis to conclude that the

      care, skill or knowledge exercised or exhibited by the other licensed professionals in the

      treatment, practice or work that is the subject of the Complaint, fell outside acceptable

      professional standards and that such conduct was a cause in bringing about the harm;

      OR

  _expert testimony of an appropriate licensed professional is unnecessary for prosecution of the

  claim against this Defendant.




                                                    BY~.~~~~----~----------­
                                                           mel Jeck, Esquire
                                                        Joshua B. Schwartz, Esquire
                                                            Attorneys for Plaintiffs




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